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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION


Terrence Brown and                            §
Lastasha Jones,                               §
                                              §
           Plaintiffs,                        §
                                              §
vs.                                           §   Civil Action No. 6:22-cv-122
                                              §
Mazda Motor Corporation and                   §
Mazda Motor of America, Inc.,                 §
                                              §
           Defendants.                        §


                              PLAINTIFFS’ COMPLAINT

To the Honorable Judge of Said Court:

      COME NOW, Terrence Brown and Lastasha Jones (hereinafter referred to as

“Plaintiffs”), and respectfully file this Complaint against Mazda Motor Corporation

and Mazda Motor of America, Inc. (hereinafter referred to collectively as “Mazda”),

and in support hereof would state and show the following:

                                          I. Parties

      1.    Plaintiff Terrence Brown is the biological father of J.E.J., a deceased minor.

      2.    Plaintiff Lastasha Jones is the biological mother of J.E.J., a deceased minor.

      3.    Defendant, Mazda Motor Corporation, is a Japanese corporation doing busi-

ness in Texas, and service of process upon this Defendant may be had by serving its

president, Masamichi Kogai, at 3-1 Shinchi, Fuchū, Aki, Hiroshima, Japan.




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   4.     Defendant, Mazda Motor of America, Inc., is a California corporation doing

business in Texas, and service of process on this Defendant may be had by serving its

registered agent for service, CT Corporation System, 1999 Bryan Street, Suite 900,

Dallas, Texas 75201-3136.

                                     II. Jurisdiction

   5.     This Court has jurisdiction over the lawsuit under the provisions of 28 U.S.C.

§ 1332.

   6.     The parties to this lawsuit are citizens of different states, and the matter in

controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs.

   7.     Mazda Motor Corporation is a multi-national, multi-billion-dollar corpora-

tion that designs, develops, manufactures, assembles, markets and sells automobiles,

and related component and replacement parts in Asia, Europe, North America, and

internationally. North America is Mazda’s biggest market.

   8.     Mazda Motor Corporation began selling its vehicles and powertrains in the

United States in the 1970s.

   9.     Mazda Motor Corporation products include cars and motor vehicles, automo-

bile engines, transmissions, and press parts. These products are distributed through-

out North America, including the United States, and including Texas.

   10. For years, and up until the present date, Mazda Motor Corporation has been

aware/is aware that thousands upon thousands of its vehicles and other products

were (and are) arriving in Texas through the stream of commerce and being sold in

Texas.


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   11. Indeed, for years, Mazda Motor Corporation was (and is) aware that thou-

sands upon thousands of its vehicles and other products were (and are) arriving in

Texas through other states.

   12. Furthermore, Mazda Motor Corporation is aware that it has end users of its

vehicles and other products located in Texas.

   13. Mazda Motor of America, Inc. is the distributor for Mazda Motor Corporation

vehicles and other products. Mazda Motor Corporation is aware of the distribution

system’s operation, and Mazda Motor Corporation knows that it benefits economi-

cally from the sale in Texas of Mazda Motor Corporation vehicles and other products.

   14. Mazda Motor Corporation could, if it wanted to, instruct Mazda Motor of

America, Inc. to refuse to ship vehicles and other products to Texas. However, Mazda

Motor Corporation, has never, in any way, shape, or form, restricted the Subject Ve-

hicle model which caused the fatal injuries complained of herein from being distrib-

uted, sold, or used in Texas, nor has Mazda Motor Corporation, ever, in any way,

shape, or form, restricted any of its vehicles or products that it designs, manufactures,

or distributes from being distributed, sold, or used in Texas.

   15. Thus, it is clear that Mazda Motor Corporation’s vehicles and other products

arrive in Texas either through direct shipment or through the stream of commerce

and that Mazda Motor Corporation is aware of this fact.

   16. Mazda Motor Corporation also knows that there are consumers who are look-

ing for Mazda Motor Corporation vehicles and other products in Texas, and Mazda




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Motor Corporation helps them buy vehicles and other products in Texas by providing

them with information about their vehicles and products.

   17. Mazda Motor Corporation spends at least hundreds of thousands, if not mil-

lions, of dollars per year marketing its products, including the subject vehicle. Indeed,

for many years up until the present, Mazda Motor Corporation has made, approved,

and/or distributed advertisements or commercials or other marketing materials tout-

ing the safety of Mazda Motor Corporation vehicles and how much Mazda Motor Cor-

poration supposedly cares about safety.

   18. Advertisements and marketing materials were and are targeted to United

States consumers, including Texas residents, to entice them to purchase Mazda Mo-

tor Corporation vehicles, including the subject model vehicle.

   19. Mazda Motor Corporation made, approved, and/or distributed these types of

materials to entice consumers and ultimate users, including those in Texas, to (1)

purchase Mazda Motor Corporation vehicles—whether used or new; (2) to drive

Mazda Motor Corporation vehicles—whether used or new; and (3) to ride in Mazda

Motor Corporation vehicles—whether used or new.

   20. Mazda Motor Corporation knew that American consumers—including con-

sumers in Texas—would rely upon its statements when deciding whether to purchase

a Mazda Motor Corporation vehicle, whether to drive a Mazda Motor Corporation

vehicle, or whether to ride in a Mazda Motor Corporation vehicle.

   21. On the Subject Vehicle, Mazda Motor Corporation affixed a sticker wherein

Mazda Motor Corporation affirmatively represented to consumers that, “[t]his vehicle



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conforms to all applicable federal motor vehicle safety and theft prevention standards

in effect on the date of manufacture”.

   22. Based upon information and/or belief, the Subject Vehicle did not meet all

Federal Motor Vehicle Safety Standards (FMVSS).

   23. Mazda Motor Corporation is currently in exclusive possession and control of

all the technical materials and other documents/material regarding the design, de-

velopment, manufacture, assembly, engineering analysis, and testing of the subject

vehicle. In the past, Plaintiffs’ counsel has worked on several other vehicle product

liability lawsuits in Texas and elsewhere against Mazda Motor Corporation, and

counsel have seen Mazda Motor Corporation confidential documents and learned

other information regarding Mazda Motor Corporation and its vehicles.

   24. In those other cases, Mazda Motor Corporation took the position that all the

technical materials and other documents/material regarding the design, develop-

ment, manufacture, assembly, engineering analysis, and testing of the subject vehicle

were confidential and/or proprietary, and Mazda Motor Corporation insisted that it

would not produce such materials without a protective order, which would contain

language that counsel had to either return the material or destroy the material at the

conclusion of litigation.

   25. Based upon information and/or belief obtained from those other cases, em-

ployees, officers and/or directors of Mazda Motor Corporation have visited, lived, con-

ducted business, and/or worked in Texas.




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   26. Based upon information and/or belief obtained from those other cases, Mazda

Motor Corporation also monitors its vehicles, such as looking at customer complaints

or feedback from distributors and dealers, including many in Texas.

   27. Based upon information and/or belief obtained from those other cases, Mazda

Motor Corporation has, in the past, entered into contracts with other individuals or

entities located in the State of Texas, and/or where performance of the contract was

to take place in the State of Texas.

   28. Based upon information and/or belief obtained from those other cases, Mazda

Motor Corporation keeps records of the revenue that it derives from the State of

Texas.

   29. Mazda Motor Corporation holds patents and trademarks which it demands

must be honored in Texas.

   30. Mazda Motor Corporation provides a warranty for certain Mazda vehicles,

including vehicles in Texas, and Mazda Motor Corporation will reimburse Mazda Mo-

tor of America, Inc. for warranty costs.

   31. Mazda Motor Corporation routinely corresponds and works with the National

Highway Traffic Safety Administration (NHTSA) on recalls and other issues, includ-

ing recalls or fixes to problems for vehicles owned and used by Texas residents.

   32. Mazda Motor Corporation has appeared in other litigation—including prod-

uct liability litigation involving its vehicles—in Texas and not contested personal ju-

risdiction, both in Texas state court and federal court.




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    33. In 2015, in another case involving allegations of a defective vehicle in Texas,

Mazda Motor Corporation did not contest personal jurisdiction and admitted that the

United States District Court for the Northern District of Texas had jurisdiction over

the matter.1

    34. In 2018, also in another case involving allegations of a defective vehicle,

Mazda Motor Corporation did not contest personal jurisdiction by the a District Court

of Tarrant County, Texas.2

    35. In 2019, in another case involving allegations of a defective vehicle in Texas,

Mazda Motor Corporation did not contest personal jurisdiction.3

    36. Mazda Motor Corporation designs, manufactures, tests, assembles, sells, dis-

tributes, and places Mazda Motor Corporation model vehicles and their component

parts into the stream of commerce, such as the Subject Vehicle involved in the inci-

dent made the basis of this suit.

    37. Mazda Motor Corporation placed the Subject Vehicle into the stream of com-

merce where it ultimately ended up in Texas.

    38. Mazda Motor Corporation knew that once it placed the vehicle into the

stream of commerce, that there was a likelihood the car would wind up in Texas

and/or be driven on Texas roads where it might be involved in an accident.


1Paula Mendoza v. Mazda Motor Corporation, Case No. 3:15-cv-01356-D, in the United States District
Court for the Northern District of Texas, Dallas Division.

2
 Jordyn Kledas v. Mazda Motor Corporation, et. al., Cause No. 067-299359-18, in the 67th District
Court, Tarrant County, Texas.

3Joshua Snead v. Mazda Motor of America, Inc. and Mazda Motor Corporation, Case No. 4:18-cv-
00805-ALM, in the United States District Court for the Eastern District of Texas, Sherman Division.


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   39. The key elements of the episode-in-suit occurred in Texas.

   40. Mazda Motor Corporation has purposefully availed itself in Texas, and due

process and fair play and substantial justice are honored by this civil action going

forward in this Texas Court.

   41.    There is little or no burden on Mazda Motor Corporation litigating this case

in this Texas Court. In contrast, it would be a tremendous burden and great ineffi-

ciency and unnecessary delay imposed on the Plaintiffs to litigate this case in another

forum because Texas has an interest in overseeing this litigation which involves in-

juries to Texas residents and defective products used in Texas.

   42. The efficient resolution of this civil action can only go forward in this Texas

Court, and public policy favors resolution of this dispute in this Texas Court.

   43. Mazda Motor Corporation cannot deny personal jurisdiction because Mazda

Motor Corporation placed the Subject Vehicle into the stream of commerce under cir-

cumstances such that Mazda Motor Corporation should reasonably anticipate being

haled into court in Texas, where it has been many times before.

   44. Mazda Motor Corporation cannot deny personal jurisdiction because Mazda

Motor Corporation placed the Subject Vehicle into the stream of commerce knowing

full well that the Subject Vehicle—as well as hundreds if not thousands of other ve-

hicles of the exact same model—could very well ultimately wind up in Texas and be

driven by Texas residents on Texas roads, and that said vehicle(s) might be involved

in an accident in Texas which might injure occupants of the vehicle.




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   45. In short, Mazda Motor Corporation is in the business of the manufacture of

vehicles, including the vehicle which caused the injuries complained of herein. Mazda

Motor Corporation also derives substantial profit from the state of Texas.

   46. Mazda Motor Corporation, in no way, shape, or form ever restricted the ve-

hicle, which caused the fatal injuries, from being distributed, sold, or used in Texas.

Mazda Motor Corporation has purposefully availed itself of the privilege and benefits

of conducting activities within Texas.

   47. Accordingly, Mazda Motor Corporation is therefore subject to be sued in

Texas courts, and exercise of personal jurisdiction pursuant to Texas’s long arm stat-

ute is, among other things, consistent with due process because Defendant has pur-

posefully availed itself of the privilege of doing business in the forum.

                                         III. Facts

   48. On or about October 8, 2020, a minor child was the passenger of a 2011

Mazda 3 (VIN: JM1BL1UF0B1426403) (“Subject Vehicle”).

   49. The Subject Vehicle was struck near the left front bumper by another vehicle

at the intersection of FM 1995 and FM 314 in Van Zandt County, Texas.

   50. The initial strike then caused the two vehicles to side-slap causing the minor

to strike his head against the interior of the Nissan vehicle.

   51. The side-curtain airbag deployed but its coverage area was too small, causing

the minor’s head strike. The injuries sustained ultimately proved to be fatal.

   52. The Subject Vehicle was designed by Mazda Motor Corporation and/or Mazda

Motor of America, Inc.


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      53. The Subject Vehicle was manufactured by Mazda Motor Corporation and/or

Mazda Motor of America, Inc.

      54. The Subject Vehicle was marketed by Mazda Motor Corporation and/or

Mazda Motor of America, Inc.

      55. The Subject Vehicle was also assembled by Mazda Motor Corporation and/or

Mazda Motor of America, Inc.

      56. Despite being properly seated and properly wearing the available seat belt,

the minor sustained catastrophic and ultimately fatal injuries when the Subject Ve-

hicle failed to protect him because it violated several crashworthiness principles.

                                   IV. Crashworthiness Overview

      57. Crashworthiness is the science of preventing or minimizing injuries or death

following an accident through the use of a vehicle’s various safety systems.4

      58. There are five (5) recognized crashworthiness principles in the automobile

industry/throughout the world. They are as follows:

          1.   Maintain survival space;

          2.   Provide proper restraint throughout the entire accident;

          3.   Prevent ejection;

          4.   Distribute and channel energy; and


4 In any crashworthiness case, the distinction between the cause of an accident versus the cause of
injuries is an important one. One of the best analogies is the case of the Titanic. While the cause of
hitting the iceberg has been the subject of much debate (inattentiveness, the captain may have been
drinking, they were going too fast, etc.), there is no question that every passenger which entered a
lifeboat that night lived, while 99% of those who went in the water died. Accordingly, had the Titanic
had enough lifeboats on board (i.e., the boat’s “safety systems”), 100% of the people on-board would
probably have lived. So, the cause of the sinking (the accident) is irrelevant vis-à-vis how everyone
died. What’s important is how the safety systems worked (or didn’t work) following the accident.


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         5.    Prevent post-crash fires.

   59. When the National Highway Traffic Safety Administration (NHTSA) created

the Federal Motor Vehicle Safety Standard (FMVSS) in the late 1960’s, the preamble

to the safety standards included a crashworthiness definition similar to that used

above, “that the public is protected against unreasonable risk of crashes occurring as

a result of the design, construction, or performance of motor vehicles and is also pro-

tected against unreasonable risk of death or injury in the event crashes do occur.”

   60. The National Transportation Safety Board (NTSB) has also stated that, “Ve-

hicle crashworthiness refers to the capacity of a vehicle to protect its occupants from

crash forces. This protection—which is achieved, in part, by vehicle structure—in-

cludes maintaining a survival space around the occupant, retaining the occupant

within that space, and reducing the forces applied to the occupant.”

   61. Crashworthiness safety systems in a vehicle must work together like links in

a safety chain. If one link fails, the whole chain fails. For example, in a rollover, if the

roof collapses such that no survival space is left, it does not matter what kind of re-

straint system, glass, fuel system, or energy absorbing system is used, because these

systems have been rendered moot.

                                V. Duty to Make a Safe Vehicle

   62. For decades, automobile manufacturers have been telling the general public

and others how important it is to make safe vehicles.

   63. For instance, in 1993, General Motors stated that “Safety isn’t one thing. It’s

everything.” Mary Barra, CEO of General Motors, testified to Congress in 2014 that,


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“Our customers and their safety are at the center of everything we do.” Jeff Boyer,

Vice-President of Global Vehicle Safety at General Motors, has stated that “Nothing

is more important than the safety of our customers in the vehicles they drive.”

   64. General Motors has also stated in the past that, “The rich don’t deserve to be

safer … Isn’t it time we realized safety is not just for the pampered and the privileged?

Safety is for all.”

   65. Ford has stated in the past that it is so obsessed with safety that only a per-

son’s mother is more obsessed with that person’s safety than Ford.

   66. Ford has testified under oath that Ford “has a moral obligation to do those

things that are feasible and practical to reduce the risk of injury and death to cus-

tomers.”

   67. Honda believes that safety is for everyone, including for other vehicle occu-

pants and for pedestrians.




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   68. In 2012, Volvo stated that “Technologies for meeting the goal of zero injuries

and fatalities are basically known today – it is a matter of how to apply, finance,

distribute and activate.”

   69. Lee Iacocca, former President of Ford Motor Company stated, while Presi-

dent and CEO of Chrysler, that “Every American has the right to a safe vehicle.”

Gerald Greenwald, chairman of Chrysler, then sent a letter to every Chrysler dealer-

ship in 1988 stating that Chrysler intended to honor that right.

   70. Because every American has the right to a safe vehicle, because safety is for

all, and because technologies for meeting the goal of zero injuries and fatalities are

basically known today, it is incumbent upon auto manufacturers to investigate and

find out what other automakers are doing with regards to safety and to apply those

same methods or technology to their own vehicle.

   71. Furthermore, an automaker cannot choose to use safer technology in Europe,

Australia, Japan, or some other country and refuse or fail to offer that same safety

technology to consumers in America.

   72. It is further incumbent upon auto manufacturers to protect consumers by

using knowledge that a manufacturer has acquired over decades and decades of ve-

hicle design, testing, and reverse engineering of other manufacturers’ vehicles.

   73. In fact, insofar as society permits vehicle manufacturers to operate in such a

way that they are permitted to sell highly complex, potentially dangerous, and also

potentially highly profitable products on the market, manufacturers have a duty to




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do their very best to ensure that the vehicle will not be harmful to buyers, their house-

holds, or third parties.

   74. This is cemented by the fact that every state of the United States has case

law which holds that every person has a duty to exercise reasonable care to avoid a

foreseeable risk of injury to others.

                                       VI. Mazda and Safety

   75. For decades, Mazda has been telling the general public and others how im-

portant it is to make safe vehicles.

   76. Mazda has stated that when it comes to safety, you can never go too far,

promising: “since drivers are human beings and human beings are fallible, Mazda

offers a range of technologies which help prevent or reduce the damage resulting from

an accident.”

   77. Below is an advertisement wherein Mazda makes the comment that they

have made every side of their vehicles safe:




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                        VII. Cause(s) of Action as to Mazda Defendants

A. Count One: Strict Liability and Defective Design/Manufacture/Failure to Warn

   78. Plaintiffs hereby incorporate by reference the allegations contained in the

preceding paragraphs of this Complaint.

   79. Mazda Defendants (referred to in this Section simply as “Defendants”) are in

the business of designing, manufacturing, testing, assembling, marketing and/or dis-

tributing vehicles, including the Subject Vehicle.

   80. Defendants designed, manufactured, tested, assembled, marketed, and/or

sold the Subject Vehicle that caused the fatal injuries to the minor child and Plain-

tiffs’ damages.

   81. The Subject Vehicle was defective and unreasonably dangerous for its in-

tended use.

   82. The Subject Vehicle was defective at the time it left Defendants’ control.

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   83. Reasonable consumers would not have been aware of the defective condition

of the Subject Vehicle.

   84. Plaintiffs were not aware of the defects in the Subject Vehicle.

   85. The fatal injuries to Plaintiffs’ minor son complained of herein occurred be-

cause the Subject Vehicle was defective and unreasonably dangerous.

   86. As detailed herein, the Subject Vehicle contains multiple design defects, De-

fendants have committed multiple acts of engineering negligence and they have cre-

ated false, misleading and/or deceptive marketing intended to lure consumers.

   87. The Subject Vehicle was defective and unreasonably dangerous, the Defend-

ants were strictly liable, negligent and Defendants misrepresented the safety of the

Subject Vehicle in the following, non-exhaustive list of ways:

         a.    Defendants market themselves as the industry leaders in vehi-
               cle safety and testing;
         b. Defendants market themselves as using state of the art engi-
               neering, testing and material, yet the facts prove otherwise;
         c.    Defendants claim in ads, marketing literature and commercials:
                    i. Everyone deserves to be safe;
                   ii. Safety is our main priority;
                  iii. Protecting you and your family is our foremost priority;
                  iv. Mazda uses state of the art safety systems to protect you
                       and your family when accidents occur;
                   v. Mazda is the leader in developing and implementing oc-
                       cupant protection systems so that you and your family
                       will walk away from an accident;
                  vi. Mazda has rededicated itself to restoring confidence in
                       our brand, so we are going to have to build better and
                       safer vehicles than anyone else in the world;
                 vii. One death is too many if we could have prevented the
                       death.
            d. The Subject Vehicle violated principles of crashworthiness;
            e. The Subject Vehicle failed to provide proper restraint;

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           f. The Subject Vehicle failed to contain a side curtain that offered
              full coverage to rear seated children;
           g. The Subject Vehicle failed to contain a side curtain airbag whose
              coverage extended well past the door;
           h. The Subject Vehicle contained a side curtain that had a huge
              lack of coverage in it so that if the rear seated occupant had
              moved forward at all due to prior impact, they would not be in
              a position to be protected by the inflated area of the side curtain;
           i. The Subject Vehicle failed to contain a side curtain airbag that
              offered full coverage like the 2014 Mazda series 3 series did;
           j. The Subject Vehicle failed to distribute injurious crash forces
              away from the cabin;
           k. The Subject Vehicle failed to utilize full coverage side curtain
              restraint systems that had been used in production vehicles
              since 2006;
           l. The Subject Vehicle was not subjected to proper engineering
              analysis such as FEA, FEM, finite element modeling;
           m. The Subject Vehicle was not properly tested;
           n. The restraint system was not properly tested;
           o. The Subject Vehicle and restraint system failed to provide rea-
              sonable occupant protection to children in the rear seat;
           p. The marketing material, ads and commercials were prepared at
              the direction of Mazda to entice consumers to buy Mazda vehi-
              cles;
           q. Consumers rely on the marketing material, ads and commer-
              cials when they buy a Mazda vehicle;
           r. Many of Mazda’s marketing campaigns are not vehicle specific
              but talk about safety, testing, and engineering in general terms;
           s. Mazda failed to conduct rigorous engineering analysis to ensure
              vehicle safety and occupant protection;
           t. Consumers that purchase and operate Mazda vehicles expect
              Mazda to use state of the art safety, testing, and engineering
              considering Mazda’s marketing campaigns;
           u. Mazda violated expressed and implied warranties about the
              safety quality of the vehicle; and/or
           v. The design defects, negligence, marketing defects, misrepresen-
              tations were the direct, producing, substantial and proximate
              cause of the fatal injuries to the minor child and the Plaintiffs’
              damages in question.


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B. Count Two: Negligence

   88. Plaintiffs hereby incorporate by reference the allegations contained in the

preceding paragraphs of this Complaint.

   89. In addition to and/or in the alternative to the product liability claims asserted

herein, Defendants were negligent in the design, manufacture, testing, assembly,

marketing, and/or distribution of the Subject Vehicle.

   90. Companies that are in the business of designing, testing, manufacturing,

marketing, distributing and selling products are never allowed to needlessly endan-

ger consumers.

   91. Defendants owed a duty to use reasonable care in the design, manufacture,

testing, assembly, marketing and/or distribution of the Subject Vehicle.

   92. Defendants failed to use reasonable care when they designed, manufactured,

tested, assembled, marketed, distributed and/or sold the Subject Vehicle, and conse-

quently put a product on the market that was unreasonably dangerous for its in-

tended or reasonably anticipated use as discussed herein.

   93. In designing a vehicle, efforts should be made by manufacturers to identify

potential risks, hazards and/or dangers that can lead to serious injury or death.

   94. Once potential risks, hazards, and/or dangers identified, then the potential

risks, hazards, or dangers should be eliminated if possible.

   95. If the potential risks, hazards, and/or dangers can’t be eliminated, then they

should be guarded against.

   96. If the potential risks, hazards, and/or dangers can’t be eliminated or guarded

against, they should at least be warned about.
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   97. A company is negligent where the company fails to conduct a proper engi-

neering analysis that would help it to identify potential risk, hazards, and/or dangers

that could seriously injure someone.

   98. As noted earlier, most (if not all) engineering associations in the United

States (and around the world) have a code of ethics. The number 1 fundamental canon

of ethics for almost all engineers is to “hold paramount the safety, health, and welfare

of the public.”

   99. Accordingly, since paramount means “superior to all others”, all vehicle en-

gineers have to hold the safety, health, and welfare of the public as their highest

considerations when they design vehicles. Indeed, General Motors, for instance, has

admitted under oath that its engineers have and hold paramount the safety, health,

and welfare of the public, and/or dangers that can lead to serious injury or death.

   100. With respect to the Subject Vehicle, based upon information and/or belief, the

Subject Vehicle was not subjected to rigorous engineering analysis.

   101. With respect to the Subject Vehicle, based upon information and/or belief, the

Subject Vehicle was not properly tested and analyzed to determine what counter-

measures were needed to prevent the serious and ultimately fatally injuries com-

plained of herein.

   102. Based upon information and/or belief, Defendants either knew or should have

known about advanced safety features used in Europe, Australia, Japan or foreign

markets and chose not to offer those safety features to American consumers.




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   103. Defendants’ safety philosophy and design philosophy are utilized in various

model vehicles and parts, including ones sold in foreign markets.

   104. When Defendants designed the Subject Vehicle, Defendants did not reinvent

the wheel. Defendants used (or should have used) an enormous amount of human

capital which had been acquired from numerous different engineers who had worked

on many prior vehicles. This knowledge would have been (or should have been) uti-

lized in different aspects of the designs of the vehicle to make the Subject Vehicle

safer in foreseeable accidents such as what occurred in this case.

   105. Defendants are currently in exclusive possession and control of all the tech-

nical materials and other documents regarding the design, manufacture, and testing

of the Subject Vehicle. Defendants are also in possession of what, if any, engineering

analysis was performed.

   106. However, it is expected that after all these materials are produced in discov-

ery and/or after Defendants’ employees and corporate representatives have been de-

posed, additional allegations may come to light.

   107. Lastly, the materials from other models, years, and foreign markets will pro-

vide evidence regarding what Defendants knew, when they knew it, and about what

was utilized or not utilized as well as the reasons why.

   108. The foregoing acts and/or omissions, defects, misrepresentations and/or neg-

ligence of Defendants were the producing, direct, proximate, and/or legal cause of the

serious and ultimately fatal injuries to the minor child and Plaintiffs’ damages.




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C. Count Three: Misrepresentation

   109. Plaintiffs hereby incorporate by reference the allegations contained in the

preceding paragraphs of this Complaint.

   110. Defendants have misrepresented that safety must come first.

   111. Defendants have misrepresented that it has an obligation to protect vehicle

occupants in the best way possible should the worst-case scenario arise.

   112. Specifically, for decades Mazda has touted the safety of its vehicles.

   113. The Subject Vehicle failed to possess all of the state-of-the-art safety equip-

ment qualities that the Defendants have touted for decades.

   114. The foregoing acts and/or omissions, defects, and/or negligence of Defendants

were the producing, direct, proximate, and/or legal cause of the fatal injuries to the

minor child and Plaintiffs’ damages.

                              VIII. Damages to Plaintiffs

   115. As a result of the acts and/or omissions of one or more of the Defendants,

Plaintiffs have suffered in the past and will in reasonable probability suffer in the

future: mental anguish, emotional distress, sorrow, grief, depression, loss of consor-

tium, loss of companionship and loss of enjoyment of life as a result of the death of

J.E.J., their minor son.

   116. Plaintiffs would further show that while the accident made the basis for suit

occurred on October 8, 2020, their minor son, J.E.J, did not succumb to the injuries

suffered in the accident until two weeks later, October 22, 2020. Between the time of

the accident and the time J.E.J. succumbed to his injuries, J.E. J. endured conscious



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physical pain and emotional pain, torment, and suffering, for which Plaintiffs, as the

sole heirs of the body of J.E.J. now sue.

   117. As a result of the acts and/or omissions of one or more of the Defendants,

Plaintiffs have become obligated to pay reasonably and necessary funeral and burial

expenses as a result of the death of J.E.J., their minor son.

   118. The above and foregoing acts and/or omissions of one or more of the Defend-

ants, resulting in the fatal injuries to J.E.J., Plaintiffs’ minor son, have caused actual

damages to Plaintiffs.

                                       VI. Prayer

   119. For the reasons presented herein, Plaintiffs pray that Defendants be cited to

appear and answer, and that upon a final trial of this cause, Plaintiffs recover judg-

ment against one or more of the Defendants for:

       a. actual damages;
       b. prejudgment and post-judgment interest beginning October 8,
          2020;
       c. costs of suit; and
       d. all other relief, general and special, to which Plaintiffs are entitled
          to at law and/or in equity, and/or which the Court deems proper.

                                                Respectfully submitted,

                                                The TRACY firm



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